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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF LOUISIANA


IN RE: OIL SPILL by the Oil Rig                      *      MDL NO. 2179
       “DEEPWATER HORIZON: in the                    *
       GULF OF MEXICO, on April 20, 2010             *
                                                     *      SECTION: “J”
                                                     *
                                                     *
                                                     *      JUDGE BARBIER
                                                     *      MAG. JUDGE SHUSHAN
THIS DOCUMENT RELATES TO:                            *
      Civil Action No. 10-1245                       *
      Darleen Jacobs Levy vs. BP, PLC, et al         *

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                           RULE 7.6(E) CERTIFICATE

       ON MOTION OF Darleen Jacobs Levy, and upon suggesting to the Court the following:

This amendment corrects the original petition under rule 12(c). Considering the fact that there is

no objection to filing this Eleventh Supplemental and Amending Complaint, plaintiff requests

that this lawsuit be supplemented and amended without objection.

       WHEREFORE, Darleen Jacobs Levy moves this Honorable Court to allow her to

supplement and amend her Original, First, Second, Third, Fourth, Fifth, Sixth, Seventh, Eight,

Ninth and Tenth Supplemental and Amending complaints.

                                                     Respectfully submitted:

                                                     S/Darleen M. Jacobs
                                                     DARLEEN M. JACOBS, ESQ. (#7208)
                                                     RICHARD MARTIN, ESQ.
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